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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


IN RE WATTSTOCK, LLC,

Debtor.                                     Case No. 21-31488-sgj11V
                                            Chapter 11
                                            Subchapter V
WATTSTOCK LLC,
                                            Adv. No. 21-03083-sgj
Plaintiff,
                                            Removed from the District Court of
v.                                          Dallas County, Texas, 116th Judicial
                                            District
ALTA POWER LLC,
                                            Cause No. DC-20-08331
Defendant, Counter-Plaintiff, and Third-
Party Plaintiff,

v.

WATTSTOCK LLC,

          Counter-Defendant, and

GENERAL ELECTRIC
INTERNATIONAL, INC., d/b/a GE
POWER SERVICES,

          Third-Party Defendant.
  Case 21-03083-sgj       Doc 30-1 Filed 02/28/22 Entered 02/28/22 19:19:21               Desc
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 PROPOSED ORDER GRANTING GENERAL ELECTRIC INTERNATIONAL, INC.’S
        RULE 12(C) MOTION FOR JUDGMENT ON THE PLEADINGS

       Third-Party Defendant General Electric International, Inc’s (“GE”) Rule 12(c) Motion for

Judgment on the Pleadings was filed before this Court on February 28, 2022. After considering

all papers, arguments of counsel, documents, records, and all other matters presented to the Court

in connection herewith, and having given due consideration to this matter,

IT IS HEREBY ORDERED THAT:

       1.      GE’s Motion for Judgment on the Pleadings is GRANTED.

       2.      Third-Party Plaintiff Alta Power LLC’s claims against GE are hereby dismissed

               with prejudice.

IT IS SO ORDERED.

                                    # # # End of Order # # #
